                             UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WISCONSIN


STACY NAGAN,
                                        Plaintiff(s),

                            v.                               TELEPHONE CONFERENCE re: [116] Letter
                                                                      Case No. 19-C-170
OPTION SOLUTIONS, LLC,
                                        Defendant(s).


HONORABLE WILLIAM C. GRIESBACH presiding                                             Time Called: 10:01 a.m.
Proceeding Held: June 11, 2020                                                    Time Concluded: 10:15 a.m.
Deputy Clerk: Cheryl                                                                        Tape: 061120

Appearances:

    Plaintiff(s):      Andrew T. Thomasson and Katelyn Busby

    Defendant(s):      Brendan Little

Mr. Thomasson states progress was made during the meet and confer. Plaintiff needed additional depositions.
Plaintiff is now satisfied the depositions are not needed. Plaintiff received responses to written requests, however,
Defendant objected to requests. Plaintiff states they still need accountments from class members and call
recordings, and the deposition of Kohl’s. Kohl’s has been cooperative and the deposition could be completed
within the next 30 days.
Mr. Little states the case involves the letter and the requested information does not have bearing on the issue
before the court and they should not be compelled to produce the requested information.
The Court notes that an audio deposition could be conducted by phone.
Mr. Thomasson states there are additional fact issues that need to be answered.
Mr. Little does not object to deposition of Kohl’s.
The Court orders deposition be completed within 30 days. The response to summary judgment is due within 30
days of the deposition, reply to follow.
The Court and parties discuss summary judgment motion.
Mr. Thomasson explains why the telephone recordings are relevant to the letter.
The Court and parties discuss production of telephone recordings.
Mr. Little will confer with his clients. Mr. Thomasson may need to file a motion to compel.
The Court directs Plaintiff to file a motion, if necessary, as it does not have enough information to address it.
